Case: 1:15-cv-02331-PAG Doc #: 19 Filed: 11/18/15 1 of 11. PageID #: 699




                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION



The Cleveland Clinic Foundation, et. al, )           CASE NO. 1:15 CV 2331
                                         )
                    Plaintiffs,          )           JUDGE PATRICIA A. GAUGHAN
                                         )
                                         )
             Vs.                         )
                                         )
True Health Diagnostics LLC,             )           Memorandum of Opinion and Order
                                         )
                    Defendant.           )




       INTRODUCTION

       This matter is before the Court upon Plaintiff’s [sic] Motion for Temporary Restraining

Order and Preliminary Injunction (Doc. 7). Plaintiffs, The Cleveland Clinic Foundation (“CCF”)

and Cleveland HeartLab (“HeartLab”) (CCF and Heartlab, sometimes, collectively “plaintiff”)

filed this lawsuit against defendant, True Health Diagnostics. This is a patent infringement case.

For the reasons that follow, the motion is DENIED.




                                                 1
Case: 1:15-cv-02331-PAG Doc #: 19 Filed: 11/18/15 2 of 11. PageID #: 700



       FACTS

       1.      The patents

       In 2003, researchers at CCF developed a test that assesses a patient’s risk for

cardiovascular disease (“CVD”). The test, called Myeloperoxidase or “MPO” testing, analyzes

inflammation of the blood vessels. MPO is an enzyme released by white blood cells when

inflammation occurs in the body. (Penn Decl. at ¶ 18). When an artery wall is damaged or

becomes inflamed, MPO is released into the blood stream in an effort to kill bacteria. (Id.). Thus,

MPO is an early symptom of many types of CVD. (Id. ¶ 9).

       CCF filed a series of patent applications relating to MPO. The Patent and Trademark

Office (“PTO”) granted CCF’s applications, and it is currently the owner of the three patents at

issue in this lawsuit: U.S. Patent No. 7,223,552 (“the ’552 patent”); U.S. Patent No. 7,459,286

(“the ’286 patent”); and U.S. Patent No. 8,349,581 (“the ’581 patent”). The ’552 patent, which

issued on May 29, 2007, has since been the subject of validity challenges by competitors in two

reexamination proceedings before the PTO. The ’552 patent was confirmed valid in both

proceedings, most recently in 2011.

       The patents teach a method of analyzing MPO biomarkers in a patient’s blood sample to

predict a patient’s potential for heart disease. They do so by comparing the level of MPO found

in the patient’s blood sample with levels of MPO in control subjects to see if the patient has

elevated levels of MPO.

       2.      Plaintiff’s development and commercialization of MPO testing

       In 2009, CCF launched HeartLab to begin commercialization of MPO testing. HeartLab

is the exclusive licensee of the ’552, ’286, and ’581 patents. (Id. at 10). CCF and HeartLab have


                                                 2
Case: 1:15-cv-02331-PAG Doc #: 19 Filed: 11/18/15 3 of 11. PageID #: 701



invested millions of dollars in their effort to build the MPO testing market. (Orville Decl. ¶ 12).

They are conducting ongoing medical and scientific studies, sought FDA approvals, and

obtained Medicare reimbursement status for MPO testing. (Id. at ¶ 8). They have focused

considerable effort on developing stringent manufacturing and quality standards and also

invested in educational programs about MPO testing. (Id.; Penn Decl. ¶¶26, 29-38).

       HeartLab both performs lab analysis of patients’ blood samples at HeartLab and, when

volume is large enough, it will manufacture MPO testing kits for sale to other labs. (Orville

Decl. ¶ 11). CCF’s and HeartLab’s efforts to develop and commercialize MPO testing have been

quite successful. At its inception, HeartLab had eight employees who performed only a few

hundred MPO tests. (Orville Decl. ¶¶ 9, 13). It now has 140 employees who will perform

hundreds of thousands of MPO tests in 2015. (Orville Decl. ¶¶ 9-10, 13).

       3.      The alleged infringing actions

       Defendant, a lab services company that performs CVD testing, was formed in March

2014. In September of 2015, defendant purchased some of the assets of Health Diagnostics Lab

(“HDL”) in a bankruptcy proceeding. Prior to its bankruptcy, HDL had used HeartLab for its

MPO testing through a Laboratory Services Agreement. In its bid for HDL’s assets, defendant

sought HDL’s customer list, including HDL’s MPO testing customers, but expressly excluded

HDL’s Laboratory Services Agreement with HeartLab.

       Concerned that defendant might use the technology in the MPO patents without

authorization, HeartLab’s CEO emailed defendant on September 14, 2015, to advise defendant

that use of the MPO testing procedures would infringe the patents at issue. Defendant did not

respond to the email. After learning anecdotally that one of defendant’s salespersons was


                                                 3
Case: 1:15-cv-02331-PAG Doc #: 19 Filed: 11/18/15 4 of 11. PageID #: 702



representing to former HDL customers that defendant was offering an MPO test from HeartLab

and was HeartLab’s exclusive partner, plaintiff began an investigation to determine if defendant

was offering MPO testing.

        In mid-October, HeartLab acquired one of defendant’s lab tests which showed that

defendant was conducting MPO tests. Shortly thereafter, HeartLab discovered more of

defendant’s lab reports with MPO testing results. The reports all use different ranges for

establishing the risk of a CVD event, which HeartLab claims “indicates a lack of quality ...[and

that defendant] is not adhering to standard laboratory regulations and procedures.” (Pl.’s Br. at

15). According to HeartLab, defendant’s lack of quality control standards is “putting the entire

MPO market segment at risk.” (Id.). Plaintiff also states that “because most of the MPO market

views ... HeartLab as the sole source of MPO as well as the MPO innovator, any misstep by

[defendant] will in all likelihood be blamed on ... HeartLab–especially in view of [defendant’s]

insinuation that it is a partner of ... HeartLab.” (Id. at 18).

        Thereafter, plaintiff filed this lawsuit alleging that defendant infringes the ’552, ’286, and

’581 patents. It now moves for a temporary restraining order and preliminary injunction

enjoining defendant from infringing the patents-in-suit. Defendant opposes plaintiff’s motion.

        ANALYSIS

        Federal Rule of Civil Procedure 65 governs the issuance of temporary restraining orders

and preliminary injunctions.

        In order to obtain a preliminary injunction, a patentee must show: “(1) reasonable

likelihood of success on the merits; (2) irreparable harm; (3) that the balance of hardships tips in

its favor; and (4) the impact of the injunction on the public interest.” Jack Guttman, Inc. v.


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Case: 1:15-cv-02331-PAG Doc #: 19 Filed: 11/18/15 5 of 11. PageID #: 703



Kopykake Enters., 302 F.3d 1352, 1356 (Fed.Cir.2002). “The denial of a preliminary injunction

pursuant to 35 U.S.C. § 283 is within a district court's discretion.” Novo Nordisk v. Sanofi-

Aventis U.S. LLC, 290 Fed. Appx. 334, 335 (Fed. Cir. 2008). The Federal Circuit will “reverse

such a decision only when an appellant demonstrates that the factors relied on by the district

court [were] clearly erroneous and that a denial of the preliminary relief sought would amount to

an abuse of the court's discretion upon reversal of an erroneous finding. Id. (citing New Eng.

Braiding Co. v. A.W. Chesterton Co., 970 F.2d 878, 882 (Fed.Cir.1992)(internal quotations

omitted)).

        DISCUSSION

        1.      Likelihood of success on the merits

        Plaintiff argues that it demonstrates a likelihood of success on the merits as to both

infringement and validity. According to plaintiff, the claim construction process is

straightforward and requires the construction of only two claim terms. Plaintiff also argues that

its patents are valid and have successfully gone through an extensive reexamination process.

Defendant argues that plaintiff’s patents are invalid because they are based on ineligible subject-

matter. Defendant also disputes that plaintiff establishes a likelihood of success on the issue of

infringement.

        Because the Court finds that plaintiff fails to show a likelihood of success on the merits

as to validity, the Court will address this issue first.

        The presumption of validity of a patent is a procedural device that places the burden of
        going forward and the ultimate burden of persuasion at trial on one attacking the validity
        of a patent. See 35 U.S.C. § 282 (1988); Roper Corp. v. Litton Systems, Inc., 757 F.2d
        1266, 1270 (Fed.Cir.1985). However, at the preliminary injunction stage, because of the
        extraordinary nature of the relief, the patentee carries the burden of showing likelihood of
        success on the merits with respect to the patent's validity, enforceability, and

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Case: 1:15-cv-02331-PAG Doc #: 19 Filed: 11/18/15 6 of 11. PageID #: 704



       infringement.

Nutrition 21 v. United States, 930 F.2d 867, 870 (Fed. Cir. 1991). Thus, the burden is on the

plaintiff to make a “clear showing” that the patent is valid. Id.

       Upon review, the Court finds that plaintiff fails to make a clear showing that the patents-

in-suit are valid. Pursuant to 35 U.S.C. § 101, [w]hoever invents or discovers any new and

useful process, machine, manufacture, or composition of matter, or any new and useful

improvement thereof, may obtain a patent therefore....” Section 101 is limited, however, and

does not cover “laws of nature, natural phenomena, and abstract ideas.” Alice Corp. Pty. Ltd v.

CLS Bank International, 134 S.Ct. 2347, 2354 (2014). In “applying the § 101 exception, we

must distinguish between patents that claim the ‘building block[s]’ of human ingenuity and those

that integrate the building blocks into something more.” Id. (citing Mayo Collaborative Services

v. Prometheus Laboratories, Inc., 132 S.Ct. 1289, 1303 (2012)).

       In Alice, the Supreme Court employed a two-part test “for distinguishing patents that

claim laws of nature, natural phenomena, and abstract ideas from those that claim patent-eligible

applications of those concepts.” Id. at 2355. Courts must tread carefully because “at some level,

all inventions...embody, use, reflect, rest upon, or apply laws of nature, natural phenomena, or

abstract ideas.” Id. at 2354. First, the court must determine “whether the claims at issue are

directed at a patent-ineligible concept.” If the claims are so directed, the Court must proceed to

step two, which involves a determination as to whether the patent contains an “inventive

concept,” which is described as “an element or combination of elements that is sufficient to

ensure that the patent in practice amounts to significantly more than a patent upon the ineligible

concept itself.” Id. (Internal citations and quotations omitted).


                                                  6
Case: 1:15-cv-02331-PAG Doc #: 19 Filed: 11/18/15 7 of 11. PageID #: 705



       In Mayo, the Supreme Court addressed the validity of a patent designed to “help doctors

who use thiopurine drugs to treat patients with autoimmune diseases determine whether a given

dosage level is too low or too high.” 132 S.Ct. at 1294. Specifically, the patent described a

process of evaluating the safety of the concentrations of a particular metabolite in a person’s

blood. The Federal Circuit determined that in addition to the natural correlations, the patent

claimed specific steps of administering a thiopourine drug and determining the resulting

metabolite level. As such, the Federal Circuit determined that the patent was directed at patent-

eligible subject matter. The Supreme Court reversed, finding:

       To put the matter more succinctly, the claims inform a relevant audience about certain
       laws of nature; any additional steps consist of well-understood, routine, conventional
       activity already engaged in by the scientific community; and those steps, when viewed as
       a whole, add nothing significant beyond the sum of their parts taken separately.

Id. at 1298.

       In a series of cases following Mayo, the Federal Circuit invalidated a number of patents

directed at medical testing. See, Ariosa Diagnostics, Inc. V. Sequenon, Inc., 788 F.3d 1371 (Fed.

Cir. 2015); In re BRCA1- & BRCA2-Based Hereditary Cancer Test Patent Litigation, 774 F.3d

775 (Fed. Cir. 2014) (affirming denial of preliminary injunction based on patent-ineligible

subject matter with respect to patents directed at methods to identify mutations in DNA

sequences); PerkinElmer, Inc. v. Intema Ltd., 496 Fed. Appx. 65 (Fed. Cir. 2012)(patent

disclosing specific screening methods to estimate the risk of fetal Down syndrome held invalid).

       Here, by plaintiff’s own admission, its “MPO Patents analyze the myeloperoxidase

biomarker.” Although plaintiff argues that its patents contain an inventive concept because

“measuring the MPO levels to determine the risk of having atherosclerotic cardiovascular

disease is not known in the prior art,” the Court is not convinced at this stage in the litigation that

                                                  7
Case: 1:15-cv-02331-PAG Doc #: 19 Filed: 11/18/15 8 of 11. PageID #: 706



this constitutes an inventive concept. Rather, it appears that the correlation between MPO levels

and cardiovascular disease is more akin to a law of nature. And, as defendant correctly notes,

although the “discovery” of a law of nature may be significant, the significance alone does not

render the discovery patentable.

       The Court is further not convinced that plaintiff has demonstrated that the patents-in-suit

contain “an element or combination of elements” sufficient to satisfy step two of the Mayo/Alice

test. Plaintiff simply argues that its patents require “measurement of a closed set of specific

bodily samples” and, therefore, its patents apply a “phenomenon in a combination of steps that

has never been done before.” At this point in the litigation, the Court disagrees. Measuring a

sample of blood or blood product1 appears to be a “well-understood, routine and conventional

activity” known in the scientific community.

       For the first time in its reply brief, plaintiff appears to argue that the patents satisfy

Mayo/Alice because they require the “unity of two crucial innovations.” Namely, plaintiff

claims that the patents measure MPO using certain “claimed” techniques and recognize that

MPO can predict CVD risk. Plaintiff, however, wholly fails to point the Court to specific

language contained in the patents that supports these propositions. Rather, plaintiff merely states

that the claims are “drawn to a novel application and implementation of MPO testing,” but fails

to offer any explanation beyond this general statement. Plaintiff makes no other argument, nor

does plaintiff point to any specific claim language in any of the patents-in-suit that supports a


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         Plaintiff does not point to any specific language in its patents in
         making this argument. The Court notes, however, that the bodily
         samples identified in the patents consist of “blood, serum, plasma,
         blood leukocytes selected from the group consisting of neutrophils
         and monocytes, or any combination thereof.”

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Case: 1:15-cv-02331-PAG Doc #: 19 Filed: 11/18/15 9 of 11. PageID #: 707



finding of validity.2 As such, the Court finds that plaintiff fails to make a “clear showing” that

its patent is valid in light of Mayo.

        Having concluded that plaintiff fails to establish a likelihood of success on the merits

with respect to validity, the Court need not address infringement.

        2. Irreparable harm3

        The Court further finds that plaintiff fails to demonstrate that it will suffer irreparable

harm absent the issuance of a temporary restraining order or preliminary injunction. Plaintiff

argues that it will suffer loss of goodwill and damages to its reputation. Plaintiff claims that a

“single false result in one of defendant’s dubious tests could tar the entire MPO market

segment.” Plaintiff also argues that defendant’s tests are “substandard and inconsistent.” The

Court agrees with defendant, however, that plaintiff fails to produce any evidence supporting

these assertions. Although plaintiff produces an affidavit supporting the proposition that

defendant’s tests are unreliable and will cause confusion, there is no evidence that any confusion

or errors actually occurred. Plaintiff’s evidence is speculative at best. See, Bettcher Industries,

Inc. v. Bunzl USA, Inc., 692 F.Supp.2d 805 (N.D. Ohio 2010); Lopes v. International Rubber



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         Although plaintiff repeatedly notes that the patents-in-suit were
         subject to extensive reexamination processes, those processes
         predated the Supreme Court’s decision in Mayo.

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         According to plaintiff, irreparable harm is presumed if plaintiff
         clearly establishes validity and infringement. The case plaintiff
         relies on, however, was abrogated and is no longer good law. See,
         Robert Bosch, LLC v. Pylong Mfg. Co., 659 F.3d 1142 (Fed. Cir.
         2011)(abrogating Smith Int’l, Inc. v. Hughes Tool Corp., 718 F.2d
         1573, 1581 (1983) in light of eBay Inc. v. MercExchange, L.L.C.,
         547 U.S. 388, 391 (2006)).

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Case: 1:15-cv-02331-PAG Doc #: 19 Filed: 11/18/15 10 of 11. PageID #: 708



 Distributors, Inc., 309 F.Supp.2d 972 (N.D. Ohio 2004). Moreover, in response to plaintiff’s

 speculative evidence, defendant produced evidence indicating that it has not received any

 customer complaints regarding false positive or negative results or confusion about the values

 used in defendant’s testing. See, Ward Decl. At ¶¶ 16-17; Grottenthaler Decl. At ¶ 18-19.

        For these same reasons, the Court rejects plaintiff’s argument that monetary harm is

 incalculable in this case because of the nature of the market. Plaintiff claims that the market for

 MPO testing is new and growing and that “it may not be able to keep financing its efforts to

 grow the market.” Again, however, plaintiff offers no evidence in support of this assertion. To

 the contrary, plaintiff’s own allegations and evidence show that plaintiff has significantly grown

 its company from an original eight employees to a current 140. Plaintiff also points out that it

 now sells “hundreds of thousands” of MPO tests. As such, the Court rejects defendant’s

 argument that monetary harm is incalculable.

        Plaintiff also argues that defendant usurped market share when it purchased the customer

 list from HDL. Plaintiff, however, fails to point to any evidence that it lost a single customer as

 a result of defendant’s alleged infringement. Thus, plaintiff’s reliance on Trebro Mfg. v. FireFly

 Equip., LLC, 748 F.3d 1159 (Fed. Cir. 2014) is misplaced.4 In all, the Court finds that plaintiff

 fails to establish irreparable harm.



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          Trebo involved a unique market in which product sales were
          extremely limited. The Federal Circuit held that the district court
          erred in rejecting evidence showing “likely loss of market share
          and loss of access to customers.” Here, by plaintiff’s own
          admission, the market for MPO testing is much larger than the
          market for sod harvesters, the product at issue in Trebo.
          Moreover, plaintiff offers no evidence of lost market share or loss
          of access to customers.

                                                 10
Case: 1:15-cv-02331-PAG Doc #: 19 Filed: 11/18/15 11 of 11. PageID #: 709



        3. Balance of hardships/public interest

        Plaintiff argues that once a Court finds likelihood of success on the merits and irreparable

 harm, an injunction should be issued unless the balance of hardships weighs “decidedly” in favor

 of defendant. Here, however, the Court found neither likelihood of success on the merits nor

 irreparable harm. Thus, the Court finds that this factor does not weigh in favor of the issuance of

 a restraining order or injunction. For the same reasons, the public interest is not served by the

 issuance of a restraining order or injunction.

        CONCLUSION

        For the foregoing reasons, Plaintiff’s [sic] Motion for Temporary Restraining Order and

 Preliminary Injunction is DENIED.

          IT IS SO ORDERED.




                                         /s/ Patricia A. Gaughan
                                         PATRICIA A. GAUGHAN
                                         United States District Judge
  Dated: 11/18/15




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